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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                     )
BUZZFEED, INC.,                                      )
                                                     )
       Plaintiff,                                    )
                                                     )
       v.                                            ) Civil Action No: 18-01556 (TSC)
                                                     )
U.S. DEPARTMENT OF JUSTICE, et al.,                  )
                                                     )
       Defendants.                                   )
                                                     )

                                     [PROPOSED] ORDER

       In consideration of Defendants’ Motion for Partial Reconsideration, and the existing

record, it is hereby ORDERED that Defendants’ Motion is GRANTED. It is further

ORDERED that the issue of Defendants’ withholding of contractor names under Exemption 4 in

this matter is moot and that the Court’s Order dated August 30, 2023, is hereby modified

consistent with this Order. The Parties shall not file supplemental briefing on the issue of

whether Defendants properly withheld the names of the suppliers of lethal injection drugs during

the relevant period under Exemption 4.




_________________                             _______________________________________
Date                                          U.S. DISTRICT COURT JUDGE




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